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                EXHIBIT U
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                                                                              U.S. District Court — Judicial Caseload Profile
DELAWARE                                                                                 12-Month Periods Ending

                                                               Mar 31          Mar 31             Mar 31       Mar 31             Mar 31           Mar 31
                                                                2016            2017               2018         2019               2020             2021                     Numerical
                                                                                                                                                                             Standing
                                    Filings ¹                      1,390           1,667               2,225        2,394            2,463            1,956                   Within
                                 Terminations                      1,750           1,413               2,125        2,142            2,419            1,978              U.S.       Circuit
    Overall
   Caseload                         Pending                        1,803           2,059               2,161        2,409            2,485            2,520
   Statistics            Percent Change in Total
                           Filings Current Year
                            Over Earlier Year                       40.7               17.3            -12.1        -18.3            -20.6                               77              6
                                    Number of Judgeships                 4               4                 4              4                4                4
                            Vacant Judgeship Months ²                0.0                1.8             23.0          8.5              0.0                0.0
                                            Total                    348               417              556          599              616                489             38              3
                                            Civil                    315               395              528          570              577                466             16              2
                                            Criminal
                          Filings                                                                                                                                        92              5
                                            Felony                       27             17               24           24                 32               19
                                            Supervised
   Actions                                  Release
per Judgeship                               Hearings                     6               5                 5              5                7                4            89              5
                               Pending Cases ²                       451               515              540          602              621                630             23              4
                              Weighted Filings ²                     503               565              878         1,012            1,047               919              3              2
                                 Terminations                        438               353              531          536              605                495             28              2
                              Trials Completed                           13             15               14           13                 25               13             27              2
                                            Criminal
                      From Filing to        Felony                  13.8               11.6             13.1         11.1              6.8               11.7            41              2
   Median              Disposition
                                            Civil ²                 12.4               10.4              5.3          5.3              5.3                7.3            16              3
Time (Months)
                           From Filing to Trial ²
                               (Civil Only)                         24.8               24.4             27.1         32.3             29.3               28.7            13              1
                              Number (and %)
                               of Civil Cases                       209                253              189          206              241                291
                              Over 3 Years Old ²                    12.8               13.4             9.6          9.2              10.3               12.4            63              3
                             Average Number
                          of Felony Defendants
     Other                    Filed per Case                         1.6                1.1              1.2          1.1              1.1                1.1
                                 Avg. Present for
                                 Jury Selection                     67.6               57.7             87.6         44.2             42.2                  0
                     Jurors      Percent Not
                                 Selected or
                                 Challenged                         45.6               41.5             46.7         24.4             29.0            100.0

                                      2021 Civil Case and Criminal Felony Defendant Filings by Nature of Suit and Offense

      Type of            Total          A             B        C              D               E            F          G              H               I          J        K           L
        Civil              1,865            36            36       132            2                2           23         185              64            832        94        12         447
     Criminal ¹                75               -         18       13             23               7           3              5                -            3        -          1            2

NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
¹ Filings in the "Overall Caseload Statistics" section include criminal transfers, while filings by "Nature of Offense" do not.
² See "Explanation of Selected Terms."
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                                                                                 U.S. District Court — Judicial Caseload Profile
NEW JERSEY                                                                                   12-Month Periods Ending

                                                                  Mar 31          Mar 31              Mar 31         Mar 31               Mar 31           Mar 31
                                                                   2016            2017                2018           2019                 2020             2021                    Numerical
                                                                                                                                                                                    Standing
                                    Filings ¹                         10,205          11,913            19,524            25,855           20,340           27,050                   Within
                                 Terminations                         10,319          10,670                9,727         14,205           12,788           10,254              U.S.      Circuit
    Overall
   Caseload                         Pending                            9,772          11,017            20,827            32,982           40,442           57,246
   Statistics            Percent Change in Total
                           Filings Current Year
                            Over Earlier Year                          165.1           127.1                 38.5            4.6              33.0                               2             1
                                    Number of Judgeships                    17              17                17             17                  17               17
                            Vacant Judgeship Months ²                   43.4               48.0              34.0           50.4              70.5               72.0
                                             Total                      600                701              1,148          1,521             1,196            1,591              2             1
                                             Civil                      555                661              1,106          1,465             1,127            1,542              2             1
                                             Criminal
                          Filings                                                                                                                                               75             3
                                             Felony                         34              26                32             45                  58               41
                                             Supervised
   Actions                                   Release
per Judgeship                                Hearings                       12              13                10             11                  12                 8           84             2
                               Pending Cases ²                          575                648              1,225          1,940             2,379            3,367              2             1
                              Weighted Filings ²                        550                550               834           1,066              829             1,143              2             1
                                 Terminations                           607                628               572            836               752                603            16             1
                              Trials Completed                              12               8                 6                 8                 7                2           92             5
                                             Criminal
                      From Filing to         Felony                     13.3               14.4               8.7            8.6               8.8                9.2           16             1
   Median              Disposition
                                             Civil ²                     8.4                7.6               6.5            5.1               9.4               10.1           60             5
Time (Months)
                           From Filing to Trial ²
                               (Civil Only)                             45.5               31.4              48.7           48.9              40.8                  -            -             -
                              Number (and %)
                               of Civil Cases                           540                652               780           1,271             1,018            9,294
                              Over 3 Years Old ²                        6.1                6.3               3.9             4.0               2.6             16.7             78             4
                             Average Number
                          of Felony Defendants
     Other                    Filed per Case                             1.1                1.1               1.1            1.1               1.1                1.1
                                 Avg. Present for
                                 Jury Selection                         76.7               79.6             105.6          127.5              96.3                  0
                     Jurors      Percent Not
                                 Selected or
                                 Challenged                             36.4               36.1              39.4           41.7              39.4                  0

                                      2021 Civil Case and Criminal Felony Defendant Filings by Nature of Suit and Offense

      Type of            Total          A               B         C              D                E            F             G               H               I          J       K          L
        Civil            26,212             569        18,705     1,354              15               62            531          902         1,049               368    1,120        25    1,512
     Criminal ¹               700           29              242        34            151              170           16               11                -            8       9        10            20

NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
¹ Filings in the "Overall Caseload Statistics" section include criminal transfers, while filings by "Nature of Offense" do not.
² See "Explanation of Selected Terms."
